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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 AGROS SHIPPING CO. LTD.,                     §
                                              §
       Plaintiff,                             §
 v.                                           §
                                              §        Civil Action No. 4:19-CV-1364
 CEYLON PETROLEUM                             §
 CORPORATION,                                 §               IN ADMIRALTY
                                              §
       Defendant.                             §
                                              §

               ANSWER OF GARNISHEE BP AMERICA INC.
       TO PROCESS OF MARITIME ATTACHMENT AND GARNISHMENT

       Pursuant to Supplemental Rules of Admiralty B and E, and in addition to all other

Federal Rules of Civil Procedure, and to Plaintiff’s agreement to extend the answer

deadline to August 19, 2019 (ECF No. 19), Garnishee BP America Inc. (“BP”) files this

Verified Answer to Plaintiff’s Process of Maritime Attachment and Garnishment

(“Process”) and asserts as follows:

       1.      As of the date of service of the Process on BP, based upon a search of its

records as it keeps them in its ordinary course of business, BP did not possess within the

Southern District of Texas any property, tangible or intangible, payable to, held on behalf

of, or to the order or for the benefit of Ceylon Petroleum Corporation.

       2.      Based on the foregoing, BP respectfully request that this Court vacate with

prejudice the Process of Maritime Attachment and Garnishment in its entirety as to BP.

Geneve Butane, Inc. v. Nat'l Oil Corp., CV H-12-2205, 2012 WL 12863889, at *2 (S.D. Tex.

Nov. 7, 2012) (J. Atlas), aff'd, 551 Fed. Appx. 185 (5th Cir. 2014).
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 DATED: August 19, 2019                      Respectfully submitted,

                                             By: /s/Connell C. Hess
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                                             ATTORNEYS FOR BP AMERICA INC.



                              CERTIFICATE OF SERVICE

       I certify that on August 19, 2019, a true and correct copy of the foregoing
Objections and Responses of Non-Party BP America Inc. were served by electronic mail
and U.S. certified mail, return receipt requested, on counsel issuing the subpoena, as
follows:


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